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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE NUMBER
NETFLIX STUDIOS, LLC, et al.,
                                                                           CV 18-230 MWF (ASx)
                                              Plaintiff(s)
                           v.

DRAGON MEDIA INC., et al.,
                                                                      ORDER/REFERRAL TO ADR
                                           Defendant(s).

The Court, having reviewed the parties’ Request: ADR Procedure Selection (Form ADR-01), the Notice
to Parties of Court-Directed ADR Program, or the report submitted by the parties pursuant to Fed. R.
Civ. P. 26(f) and L.R. 26-1, hereby:
ORDERS this case referred to:
     ✔    ADR PROCEDURE NO. 1: This case is referred to ✔ the magistrate judge assigned to the case
          or the magistrate judge in Santa Barbara for such settlement proceedings as the judge may
          conduct or direct. Counsel are directed to contact the magistrate judge's courtroom deputy to
          arrange a date and time for the ADR proceeding.
          ADR PROCEDURE NO. 2: This case is referred to the Court Mediation Panel. Within twenty-
          one (21) days, plaintiff shall obtain the consent of a neutral on the Court Mediation Panel who
          will conduct the mediation and shall file Form ADR-2, Stipulation Regarding Selection of Panel
          Mediator. If the parties have not selected and obtained the consent of a Panel Mediator within
          twenty-one (21) days, the ADR Program (213-894-2993) will assign one. Forms and a list of the
          Panel Mediators are available on the Court website, www.cacd.uscourts.gov. Absent
          extraordinary circumstances, parties cannot request a continuance within three (3) business
          days of a scheduled mediation.
          ADR PROCEDURE NO. 3 : This case is referred to private mediation. Counsel are directed to
          contact the private mediator of their choice to arrange a date and time for the mediation.

IT IS FURTHER ORDERED:
    The ADR proceeding is to be completed by: March 11, 2019
    The parties shall file a joint report no later than seven (7) days after the ADR proceeding regarding
    the progress of settlement discussions.
    The Court sets a further status conference for: Status
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                                                                                           22 2019

Dated: July 18, 2018
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